                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
                                                    )       No. 3:05-CR-124
V.                                                  )       (JORDAN/GUYTON)
                                                    )
                                                    )
                                                    )
MARCUS WALLACE SIMS, JR.                            )

                         ORDER OF DETENTION PENDING TRIAL

               The defendant appeared in custody before the undersigned for an initial appearance

and arraignment on October 28, 2005. Assistant United States Attorney Hugh B. Ward, Jr. was

present representing the government and Charles I. Poole appeared as CJA Counsel for the

defendant. The government requested that the defendant be detained without bond pending trial

pursuant to Title 18 U.S.C. Section 3142(f). Counsel for the defendant, announced that the

defendant would waive a detention hearing at this time. The defendant and his attorney executed

a Waiver of Detention Hearing in open court.

               The defendant is aware of his rights to a detention hearing and to require the

government to meet its burden of proving that no conditions of release exist which will reasonably

assure his appearance in court and the safety of the community. The defendant understands that

if he waives his detention hearing, he will remain in custody pending trial. The defendant

acknowledged in open court that he has no questions and understands his rights and the

consequences of waiving those rights, and agreed to be detained without bond pending trial.




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               Upon consideration of defendant's waiver, the charge against him, and the report

of the Pretrial Services Office, the Court finds that, at this time, no conditions of release will

reasonably assure the appearance of the defendant in court and the safety of the community.

Should information having a material bearing on the issue of release subsequently become

 available, indicating a change in the defendant's circumstances, the defendant, through counsel,

may file a motion requesting a bond hearing.

               It is, therefore, ORDERED that:

               (1)    Defendant be detained without bond pending trial;

               (2)    Defendant be committed to the custody of the Attorney General
                      for confinement in a corrections facility separate, to the extent
                      practicable, from persons awaiting or serving sentences or being
                      held in custody pending appeal;

               (3)    Defendant be afforded reasonable opportunity for
                      private consultation with counsel; and

               (4)    On order of a court of the United States or on request of
                      an attorney for the government, the person in charge of
                      the corrections facility in which the defendant is confined
                      deliver the defendant to a United States Marshal for the
                      purpose of an appearance in connection with any court
                      proceeding.

               IT IS SO ORDERED.

                                     ENTER:

                                            s/ H. Bruce Guyton
                                            United States Magistrate Judge




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